                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
                v.                              )     No. 13-03054-08-CR-S-BCW
                                                )
TIMOTHY EDWARD HOWER,                           )
                                                )
                               Defendant.       )


                            ACCEPTANCE OF PLEA OF GUILTY
                             AND ADJUDICATION OF GUILT

Pursuant to the Report and Recommendation of United States Magistrate Judge James C. England,
to which no objection has been filed, the plea of guilty to Count One in the Third Superseding
Indictment filed on September 30, 2014 is now accepted.      Defendant is adjudged guilty of such
offense.   Sentencing will be set by subsequent order of the court.

                                                       /s/ Brian C. Wimes
                                                      JUDGE BRIAN C. WIMES
                                                      UNITED STATES DISTRICT COURT

Dated: January 21, 2015




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